9:22-cr-00658-RMG   Date Filed 10/18/22    Entry Number 103-1   Page 1 of 3




                    Defendant’s Motion to Seal

                            Exhibit 1
                     Non-Confidential Descriptive Index
                    (Local Criminal Rule 49.01(B)(2)(a))
    9:22-cr-00658-RMG          Date Filed 10/18/22   Entry Number 103-1        Page 2 of 3




                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF SOUTH CAROLINA
                                    BEAUFORT DIVISION

United States of America,                        Case No. 9:22-cr-00658-RMG

           v.

Russell Lucius Laffitte,

                      Defendant.


                              Non-Confidential Descriptive Index

       In accordance with Local Crim. R. 49.01(B)(2)(a) (D.S.C.) and the Standing Order

Regarding Sealing Documents in Criminal Matters, ECF No. 1, No. 3:14-mc-00333-TLW (Oct.

28, 2014), the following non-confidential descriptive index is filed contemporaneously with the

Motion to Seal filed by Defendant:

Exhibit Document                             Description

   A      Response to Palmetto State         Defendant’s unredacted response to the letter
          Bank’s Letter Brief                brief provided to the Court by Palmetto State
                                             Bank’s counsel asserting attorney-client privilege.

   B      Proposed Redacted Response to      A copy of the response brief with proposed
          Palmetto State Bank’s Letter Brief redactions for service on the Government and/or
                                             filing on the Court’s unsealed docket.

   C      Audio Recording                    Audio recording of the November 3, 20221 Board
                                             meeting. This is being submitted to Clerk on a
          [Exhibit 1 to Response Brief]
                                             CD by hand-delivery in sealed envelope.

   D      Transcript of Audio Recording      Official transcript of the audio recording from the
          (Oct. 8, 2022)                     Bank’s November 3, 2021 Board Meeting
          [Exhibit 2 to Response Brief]

   E      Endorsed Check and Email Chain     Copy of an endorsed $680,000 check from the
          (Nov. 2, 2021)                     law firm of Peters, Murdaugh, Parker, Eltzroth &
                                             Detrick, P.A. and email chain about the check.
          [Exhibit 3 to Response Brief]
    9:22-cr-00658-RMG        Date Filed 10/18/22     Entry Number 103-1        Page 3 of 3




                                NELSON MULLINS RILEY & SCARBOROUGH LLP

                                By: /s/ E. Bart Daniel
                                   E. Bart Daniel, Federal Bar No. 403
                                   E-Mail: bart.daniel@nelsonmullins.com
                                   Matt Austin, Federal Bar No. 11435
                                   E-Mail: matt.austin@nelsonmullins.com
                                   151 Meeting Street / Sixth Floor
                                   Post Office Box 1806 (29402-1806)
                                   Charleston, SC 29401-2239
                                   (843) 853-5200
                                   Christian J. Myers, Federal Bar No. 13096
                                   E-mail: josh.myers@nelsonmullins.com
                                   Phone: (202) 689-2800
                                   101 Constitution Avenue NW, Suite 9000
                                   Washington, DC 20001
                                Attorneys for Russell Lucius Laffitte
Charleston, South Carolina
October 18, 2022




                                              2
